
5 So.3d 143 (2009)
STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY as Subrogee of Yvette Norman
v.
Gregory R. LEROUGE, Mary J. Lerouge, Hartford Insurance Company, Donnell L. Ducre, Sewerage and Water Board of New Orleans, and National Union Fire Insurance Company
Mary Jane Lerouge and Shirley Lerouge
v.
New Orleans Sewerage and Water Board, National Union Fire Insurance Company, Donnell L. Ducre, Hartford Insurance Company of the Midwest and Gregory R. Lerouge, Yvette Norman and State Farm Mutual Automobile Insurance Company
Gregory R. Lerouge
v.
New Orleans Sewerage and Water Board, National Union Fire Insurance Company, Donnell L. Ducre, Hartford Insurance Company of the Midwest, Yvette Norman and State Farm Mutual Automobile Insurance Company.
No. 2009-C-0124.
Supreme Court of Louisiana.
March 27, 2009.
*144 Denied.
